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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NEW YORK

  OAKLEY, INC., a Washington                     Civil Action No.
  Corporation,
                    Plaintiff,

                  v.

  SMASH IT SPORTS INC., a New York
  Corporation; and DOES 1-10, inclusive,

                           Defendant.
              COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
       Plaintiff Oakley, Inc. and (“Oakley” or “Plaintiff”), through its undersigned
counsel, for its complaint against Defendant Smash It Sports Inc. (“Defendant”) alleges
as follows:
                               JURISDICTION AND VENUE
       1.       Plaintiff files this action against Defendant for trademark infringement and
unfair competition under the Lanham Trademark Act of 1946, 15 U.S.C. §1051 et seq.
(the “Lanham Act”), and related claims under the common law of the state of New York.
       2.       Jurisdiction over the parties and subject matter of this action is proper in
this Court pursuant to 15 U.S.C. § 1121 (actions arising under the Lanham Act), 28 U.S.C.
§ 1331 (actions arising under the laws of the United States), 28 U.S.C. § 1332(a)
(diversity of citizenship between the parties), and § 1338(a) (actions arising under an Act
of Congress relating to trademarks). This Court has supplemental jurisdiction over the
claims in this Complaint that arise under common law pursuant to 28 U.S.C. § 1367(a).
       3.       This Court has personal jurisdiction over Defendant because Defendant is
incorporated, domiciled, and/or conducts business in the state of New York.
       4.       Venue is properly founded in this judicial district pursuant to 28 U.S.C.
§§ 1391(b) and (c) because Defendant is incorporated, domiciled, and/or conducts
business in this judicial district, and/or a substantial part of the events giving rise to the


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claims in this action occurred within this district.
                                         PARTIES
       5.       Plaintiff Oakley, Inc. (“Oakley”) is a corporation organized and existing
under the laws of the State of Washington, having its principal place of business at One
Icon, Foothill Ranch, California 92610.
       6.       Upon information and belief, Defendant is a corporation organized and
existing under the laws of the state of New York, having its principal place of business at
1861 Scottsville Rd., Bld. 400, Ste B, Rochester, New York 14623.
       7.       Plaintiff is unaware of the names and true capacities of Defendants, whether
individual, corporate and/or partnership entities, named herein as DOES 1 through 10,
inclusive, and therefore sue them by their fictitious names. Plaintiff will seek leave to
amend this complaint when their true names and capacities are ascertained. Plaintiff is
informed and believes and based thereon alleges that Defendant and DOES 1 through 10,
inclusive, are in some manner responsible for the wrongs alleged herein, and that at all
times referenced each was the agent and servant of the other Defendants and was acting
within the course and scope of said agency and employment.
       8.       Plaintiffs are informed and believe, and based thereon allege, that at all
relevant times herein, Defendant and DOES 1 through 10, inclusive, knew or reasonably
should have known of the acts and behavior alleged herein and the damages caused
thereby, and by their inaction ratified and encouraged such acts and behavior. Plaintiffs
further allege that Defendant and DOES 1 through 10, inclusive, have a non-delegable
duty to prevent or cause such acts and the behavior described herein, which duty
Defendant and DOES 1 through 10, inclusive, failed and/or refused to perform.
                    ALLEGATIONS COMMON TO ALL COUNTS
       A.       The OAKLEY® Brand and its Products
       9.       Oakley has been actively engaged in the manufacture and sale of high
quality eyewear since at least 1985. Oakley is the manufacturer and retailer of numerous

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 lines of eyewear and other products that have enjoyed substantial success and are protected
 by various intellectual property rights owned by Oakley.
        10.    Oakley is the owner of various trademarks (collectively, the “Oakley
 Marks”), including but not limited to the following United States Trademark
 Registrations:


Registration      Mark         Classes                      Date of      Image
No.                                                         Registration
  1,519,823       OAKLEY       18 Athletic bags.            January 10,   OAKLEY
                                                            1989
  1,521,599       OAKLEY       9 Sunglasses and             January 24,   OAKLEY
                               accessories for              1989
                               sunglasses, namely,
                               replacement lenses, ear
                               stems and nose pieces.

  1,522,692       OAKLEY       25 Clothing, namely,         January 31,   OAKLEY
                               shirts and hats.             1989
  1,552,583       OAKLEY       9 Goggles.                   August 22,    OAKLEY
                                                            1989
  2,293,046       OAKLEY       25 Clothing, headwear        November      OAKLEY
                               and footwear and             16, 1999
                               footwear, namely, sport
                               shirts, jerseys, shirts,
                               jackets, vests,
                               sweatshirts, pullovers,
                               coats, ski pants,
                               headwear, caps, shoes,
                               athletic footwear, all
                               purpose sports footwear
                               and socks.
  2,409,789       OAKLEY       14 Jewelry and time          December 5,   OAKLEY
                               pieces, namely, watches.     2000




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3,153,943   OAKLEY     9 Prescription eyewear, October 10,
                       namely, sunglasses and   2006
                       spectacles; eyewear
                       containing electronics
                       devices, namely,
                       protective eyewear,
                       eyeglasses, sunglasses
                       and spectacles;
                       electronics, namely
                       portable digital
                       electronic devices for
                       recording, organizing,
                       and reviewing text, data
                       and audio files;
                       computer software for
                       use in recording,
                       organizing, and
                       reviewing text, data and
                       audio files on portable
                       digital electronic
                       devices; transmitters,
                       receivers, speakers and
                       parts thereof for use
                       with cellular, wireless
                       computer and telephone
                       communication systems;
                       communication devices
                       for use on eyewear,
                       namely earpieces,
                       transmitters, receivers,
                       speakers and parts
                       thereof for use with
                       cellular, wireless
                       computer and telephone
                       communication systems;
                       wearable audio visual
                       display, namely,
                       protective eyewear,
                       eyeglasses, sunglasses
                       and spectacles
                       containing an audio
                       visual display; wireless



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                       telecommunications
                       modules.
3,771,517   OAKLEY     35 Retail store services    April 6, 2010
                       and on-line retail store
                       services featuring
                       eyewear, replacement
                       lenses, eyewear
                       nosepiece kits, clothing,
                       headwear, footwear,
                       watches, decals,
                       electronics devices,
                       posters, athletic bags,
                       handbags, backpacks
                       and luggage.
1,908,414   OAKLEY     16 Printed material,        August 1,
            stylized   namely decals and           1995
                       stickers.

1,980,039   OAKLEY     9, 25 Protective and/or     June 11,
            stylized   anti-glare eyewear,         1996
                       namely sunglasses,
                       goggles, spectacles and
                       their parts and
                       accessories, namely
                       replacement lenses,
                       earstems, frames, nose
                       pieces and foam strips;
                       cases specially adapted
                       for protective and/or
                       anti-glare eyewear and
                       their parts and
                       accessories
                       clothing, headwear and
                       footwear, namely T-
                       shirts, sweatshirts,
                       blouses, sweaters, sport
                       shirts, jerseys, shorts,
                       trousers, pants,
                       sweatpants, ski pants,
                       racing pants, jeans,
                       coats, vests, jackets,
                       swimwear, hats, visors,


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                       caps, gloves, belts,
                       socks, sandals and
                       shoes.
1,356,297   OAKLEY     9, 25 Goggles,               August 27,
            stylized   sunglasses, protective       1985
                       pads for elbows, feet
                       and knees. Clothing -
                       namely t-shirts; gloves;
                       racing pants; hats;
                       sweatshirts; sport shirts,
                       jackets, jeans, jerseys
                       and ski pants, jackets,
                       hats, gloves and socks.
1,519,596   OAKLEY     9 Sunglasses and             January 10,
            stylized   accessories for              1989
                       sunglasses, namely,
                       replacement lenses, ear
                       stems and nose pieces.
3,143,623   OAKLEY     9, 25 Protective             September
            stylized   eyewear, namely              12, 2006
                       spectacles, prescription
                       eyewear, anti glare
                       glasses and sunglasses
                       and their parts and
                       accessories, namely
                       replacement lenses,
                       frames, earstems, and
                       nose pieces; cases
                       specially adapted for
                       spectacles and
                       sunglasses and their
                       parts and accessories
                       Clothing, namely, t-
                       shirts, beach-wear,
                       blouses, sports shirts,
                       jerseys, swimwear,
                       swim trunks, shorts,
                       underwear, shirts, pants,
                       racing pants, ski and
                       snowboard pants and
                       jackets, jeans, vests,
                       jackets, wetsuits,


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                         sweaters, pullovers,
                         coats, sweatpants,
                         headwear, namely, hats,
                         caps, visors and
                         footwear, namely
                         wetsuit booties, shoes,
                         sandals, athletic
                         footwear, all purpose
                         sports footwear, thongs
                         and boots.
1,902,660   OAKLEY       16 Printed material,       July 4, 1995
            and design   namely decals and
                         stickers.


1,990,262   OAKLEY       9, 25 Protective and/or    July 30,
            and design   anti-glare eyewear,        1996
                         namely sunglasses,
                         goggles, spectacles and
                         their parts and
                         accessories, namely
                         replacement lenses,
                         earstems, frames, nose
                         pieces and foam strips;
                         cases specially adapted
                         for protective and/or
                         anti-glare eyewear and
                         their parts and
                         accessories
                         clothing, headwear and
                         footwear, namely T-
                         shirts, sweatshirts,
                         blouses, sweaters, sport
                         shirts, jerseys,
                         sweatpants, ski pants,
                         racing pants, jeans,
                         coats, vests, jackets,
                         hats, visors, caps




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3,496,633   O          25 clothing, namely, t-     September 2,
                       shirts, beach-wear,         2008
                       blouses, sports shirts,
                       jerseys, swimwear,
                       swimtrunks, shorts,
                       underwear, shirts, pants,
                       racing pants, ski and
                       snowboard pants and
                       jackets, jeans, vests,
                       jackets, wetsuits,
                       sweaters, pullovers,
                       coats, sweatpants,
                       headwear, namely, hats,
                       caps, visors and
                       footwear, namely,
                       wetsuit booties, shoes,
                       sandals, athletic
                       footwear, all purpose
                       sports footwear, thongs
                       and boots.
2,301,660   O          14 Jewelry and time         December
                       pieces, namely, watches     21, 1999



3,331,124   O          9, 25 Protective            November 6,
                       eyewear, namely             2007
                       spectacles, prescription
                       eyewear, anti glare
                       glasses and sunglasses
                       and their parts and
                       accessories, namely
                       replacement lenses,
                       frames, earstems, and
                       nose pieces; cases
                       specially adapted for
                       spectacles and
                       sunglasses and their
                       parts and accessories;
                       and protective clothing,
                       namely, racing pants;
                       Clothing, namely, t-
                       shirts, beach-wear,

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                       blouses, sports shirts,
                       jerseys, swimwear,
                       swimtrunks, shorts,
                       underwear, shirts, pants,
                       ski and snowboard pants
                       and jackets, jeans, vests,
                       jackets, wetsuits,
                       sweaters, pullovers,
                       coats, sweatpants,
                       headwear, namely, hats,
                       caps, visors and
                       footwear, namely
                       wetsuit booties, shoes,
                       sandals, athletic
                       footwear, all purpose
                       sports footwear, thongs
                       and boots
3,151,994   O          9 Protective eyewear,      October 03,
                       namely spectacles,         2006
                       prescription eyewear,
                       anti glare glasses and
                       sunglasses and their
                       parts and accessories,
                       namely replacement
                       lenses, frames, earstems,
                       and nose pieces; cases
                       specially adapted for
                       spectacles and
                       sunglasses and their
                       parts and accessories
3,771,516   O          35 Retail store services   April 6, 2010
                       and on-line retail store
                       services featuring
                       eyewear, replacement
                       lenses, eyewear
                       nosepiece kits, clothing,
                       headwear, footwear,
                       watches, decals,
                       electronics devices,
                       posters, athletic bags,
                       handbags, backpacks
                       and luggage



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3,785,868   O           9 Protective eyewear,       May 4, 2010
                        namely, spectacles,
                        prescription eyewear,
                        anti glare glasses and
                        sunglasses and their
                        parts and accessories,
                        namely, replacement
                        lenses, frames, earstems,
                        and nose pieces; cases
                        specially adapted for
                        spectacles and
                        sunglasses and their
                        parts and accessories
2,300,245   O           25 clothing, namely, T-     December
                        shirts, beachwear,          14, 1999
                        blouses, sports shirts,
                        jerseys, shorts, shirts,
                        pants, racing pants, ski
                        pants, vests, jackets,
                        sweaters, pullovers,
                        coats, sweatpants,
                        sweatshirts, headwear,
                        namely, hats, caps, and
                        footwear, namely, shoes,
                        athletic footwear, all
                        purpose sports footwear
2,207,455   O           18 luggage, duffle bags,    December 1,
                        athletic bags, luggage      1998
                        bags with rollers, wrist
                        mounted carryall bags,
                        tote bags, all purpose
                        sports bags, knapsacks
                        and backpacks
2,209,416   O           9, 25 Protective and/or
                        anti-glare eyewear,
                        namely, goggles, and
                        their parts and
                        accessories, namely,
                        cases specially adapted
                        for protective and/or
                        anti-glare eyewear and
                        their parts and
                        accessories; clothing,


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                        headwear and footwear,
                        namely, T-shirts, hats,
                        shorts, shirts, pants,
                        jackets, sweatshirts,
                        shoes, and pullovers
1,927,106   O           16 printed material,      October 17,
                        namely decals and         1995
                        stickers


1,984,501   O           9, 25 protective and/or   July 2, 1996
                        anti-glare eyewear,
                        namely sunglasses,
                        goggles, spectacles and
                        their parts and
                        accessories, namely
                        replacement lenses,
                        earstems, frames, nose
                        pieces and foam strips;
                        cases specially adapted
                        for protective and/or
                        anti-glare eyewear and
                        their parts and
                        accessories; clothing and
                        headwear, namely T-
                        shirts, sweatshirts,
                        jackets, hats, and caps
1,904,181   O           9 protective and/or anti- July 11,
                        glare eyewear, namely     1995
                        sunglasses, goggles and
                        their parts and
                        accessories, namely
                        replacement lenses,
                        earstems, frames, nose
                        pieces and foam strips,
                        cases specially adapted
                        for protective and/or
                        anti-glare eyewear and
                        their parts and
                        accessories




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 3,693,071      O             18 Traveling bags and          October 6,
                              backpacks                      2009




       11.    Oakley has continuously used the Oakley Marks in interstate commerce
since their respective dates of first use. Many of the registrations to the Oakley Marks,
including those set forth above, are incontestable.
       12.    Over the years Oakley has invested a considerable amount of time and
money in establishing the Oakley Marks in the minds of consumers as a source of high
quality eyewear. As a result of Oakley’s substantial use and promotion of the Oakley
Marks in connection with the eyewear and other products, the marks have acquired great
value as a specific identifier of Oakley’s products and serve to distinguish Oakley’s
products from that of others. Customers in this judicial district and elsewhere readily
recognize the Oakley Marks as distinctive designations of origin of Oakley’s products.
The Oakley Marks are intellectual property assets of great value as a symbol of Oakley’s
quality products and goodwill.
       B.     Defendant’s Infringing Activities
       13.    The present action arises from Defendant’s wrongful importation,
distribution, advertisement, marketing, offering for sale, and/or sale of eyewear bearing
counterfeit reproductions of the Oakley Marks (hereinafter “Counterfeit Products”).
       14.    Products bearing the Oakley Marks were obtained from Defendant and have
been examined and confirmed counterfeit by Plaintiff’s representatives.
       15.    Defendant’s use of the Oakley Marks, including the promotion and
advertisement, reproduction, distribution, sale and offering for sale of its Counterfeit
Products, is without Plaintiff’s consent or authorization.
       16.    Defendant has never been authorized by Plaintiff to manufacture, sell or
offer for sale products bearing any of the Oakley Marks. Moreover, Defendant has never



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been a licensee of Plaintiff and has never been licensed in any manner to import, sell,
distribute, or manufacture any merchandise bearing the Oakley Marks.
       17.    Defendant, upon information and belief, is actively using, promoting and
otherwise advertising, distributing, selling and/or offering for sale Counterfeit Products
with the knowledge and intent that such goods will be mistaken for the genuine high
quality Oakley ® products, despite Defendant’s knowledge that they are without authority
to use the Oakley Marks. The net effect of Defendant’s actions will cause confusion of
consumers at the time of initial interest, sale, and in the post-sale setting, who will believe
Defendant’s Counterfeit Products are genuine goods originating from, associated with,
and approved by Plaintiff.
       18.    Upon information and belief, at all times relevant hereto, Defendant has had
full knowledge of Plaintiff’s ownership of the Oakley Marks, including its exclusive right
to use and license such intellectual property and the goodwill associated therewith.
       19.    Upon information and belief, Defendant has engaged in the aforementioned
infringing activities knowingly and intentionally or with reckless disregard or willful
blindness to Plaintiff’s rights for the purpose of trading off the goodwill and reputation of
Plaintiff.   If Defendant’s willfully infringing activities are not preliminarily and
permanently enjoined by this Court, Plaintiff and the consuming public will continue to
be damaged.
                                          COUNT I
                 (Federal Trademark Infringement - 15 U.S.C. § 1114)
       20.    Plaintiff incorporates herein by reference the averments of the preceding
paragraphs as though fully set forth herein.
       21.    The Oakley Marks are nationally and internationally recognized, including
within this judicial district, as being affixed to goods and merchandise of the highest
quality and coming from Plaintiff.




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       22.    The registrations embodying the Oakley Marks are in full force and effect
and a majority of them are incontestable.
       23.    Defendant’s infringing activities, as set forth above, are likely to cause
confusion, mistake, or deception, or to deceive consumers as to the source, origin,
affiliation, association, or sponsorship of Defendant’s goods or services and falsely
mislead consumers into believing that Defendant’s products originate from Plaintiff; are
affiliated or connected with Plaintiff; or are licensed, sponsored, authorized, approved by,
or sanctioned by Plaintiff; or that Plaintiff controls the quality of Defendant’s products.
       24.    Defendant’s infringing use of the Oakley Marks is without Plaintiff’s
permission or authority and in total disregard of Plaintiff’s rights to control its trademarks.
       25.    Defendant’s activities are likely to lead to and result in confusion, mistake
or deception, and are likely to cause the public to believe that Plaintiff has produced,
sponsored, authorized, licensed or is otherwise connected or affiliated with Defendant’s
commercial and business activities, all to the detriment of Plaintiff.
       26.    Upon information and belief, Defendant’s acts are deliberate and intended
to confuse the public as to the source of Defendant’s goods or services and to injure
Plaintiff and reap the benefit of Plaintiff’s goodwill associated with the Oakley Marks.
       27.    As a direct and proximate result of Defendant’s infringing activities,
Plaintiff has been injured and will continue to suffer injury to its business and reputation
unless Defendant is restrained by this Court from infringing Plaintiff’s trademarks.
       28.    Plaintiff has no adequate remedy at law.
       29.    In light of the foregoing, Plaintiff is entitled to injunctive relief prohibiting
Defendant from using the Oakley Marks, or any marks identical and/or confusingly similar
thereto, for any purpose, and to recover from Defendant all damages, including attorneys’
fees, that Plaintiff has sustained and will sustain as a result of such infringing acts, and all
gains, profits and advantages obtained by Defendant as a result thereof, in an amount not
yet known, as well as the costs of this action pursuant to 15 U.S.C. § 1117(a), attorneys’

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fees and treble damages pursuant to 15 U.S.C. § 1117(b), and/or statutory damages
pursuant to 15 U.S.C § 1117(c).
                                         COUNT II
       (False Designation of Origin and False Advertising, 15 U.S.C. § 1125(a))
       30.     Plaintiff incorporates herein by reference the averments of the preceding
paragraphs as though fully set forth herein.
       31.     Defendant’s infringing activities, as set forth above, are likely to cause
confusion, mistake, or deception, or to deceive consumers as to the source, origin,
affiliation, association, or sponsorship of Plaintiff’s goods and services or Defendant’s
goods and services and falsely mislead consumers into believing that Defendant’s products
originate from Plaintiff; are affiliated or connected with Plaintiff; or are licensed,
sponsored, authorized, approved by, or sanctioned by Plaintiff; or that Plaintiff controls
the quality of Defendant’s products.
       32.     Defendant’s use of the Oakley Marks is without Plaintiff’s permission or
authority and in total disregard of Plaintiff’s rights.
       33.     Plaintiff has been irreparably damaged by Defendant’s unfair competition
and misuse of the Oakley Marks.
       34.     Plaintiff has no adequate remedy at law.
       35.     Defendant’s egregious conduct in selling infringing merchandise is willful
and intentional.
       36.     In light of the foregoing, Plaintiff is entitled to injunctive relief prohibiting
Defendant from using the Oakley Marks, or any trademarks identical and/or confusingly
similar thereto, and to recover all damages, including attorneys’fees, that Plaintiff has
sustained and will sustain, and all gains, profits and advantages obtained by Defendant as
a result of its infringing acts alleged above in an amount not yet known, and the costs of
this action.
                                         COUNT III

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                 (Unfair Competition under New York Common Law)
       37.     Plaintiff incorporates herein by reference the averments of the preceding
paragraphs as though fully set forth herein.
       38.     Defendant’s infringement of the Oakley Marks constitutes unfair
competition in violation of the common law of the state of New York.
       39.     Defendant is a competitor of Oakley and has utilized the Oakley Marks in
connection with the promotion, advertisement, and marketing of its products in an effort
to exploit Plaintiff’s reputation in the market.
       40.     Defendant’s infringing acts were intended to capitalize on Plaintiff’s
goodwill associated therewith for Defendant’s own pecuniary gain. Plaintiff has
expended substantial time, resources and effort to obtain an excellent reputation for its
Oakley® brand. As a result of Plaintiff ‘s efforts, Defendant is now unjustly enriched
and is benefiting from property rights that rightfully belong to Plaintiff.
       41.     Defendant’s acts are willful, deliberate, and intended to confuse the public
and to injure Plaintiff.
       42.     Plaintiff has no adequate remedy at law to compensate it fully for the
damages that have been caused and which will continue to be caused by Defendant’s
infringing conduct, unless it is enjoined by this Court.
       43.     The conduct herein complained of was extreme, outrageous, and was
inflicted on Plaintiff in reckless disregard of Plaintiff’s rights. Said conduct was in bad
faith and harmful to Plaintiff and as such supports an award of exemplary and punitive
damages in an amount sufficient to punish and make an example of Defendant, and to
deter it from similar conduct in the future.
       44.     In light of the foregoing, Plaintiff is entitled to injunctive relief prohibiting
Defendant from infringing the Oakley Marks and to recover all damages, including
attorneys’fees, that Plaintiff has sustained and will sustain, and all gains, profits and



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advantages obtained by Defendant as a result of its infringing acts alleged above in an
amount not yet known, and the costs of this action.
                                PRAYER FOR RELIEF
       WHEREFORE, Plaintiff Oakley, Inc. respectfully requests that this Court enter
judgment against Defendant Smash It Sports Inc. on all claims as follows:
       1.     Finding that: (i) Defendant has violated Section 32 of the Lanham Act (15
U.S.C. § 1114) and Section 43(a) of the Lanham Act (15 U.S.C. § 1125(a)); (ii) Defendant
has committed unfair competition under New York common law;
       2.     For entry of an ORDER granting permanent injunctive relief restraining and
enjoining Defendant, its officers, agents, employees, and attorneys, and all those persons
or entities in active concert or participation with them from:
              (a)    using the Oakley Marks in connection with the manufacturing,
importing, advertising, marketing, promoting, supplying, distributing, offering for sale,
and/or selling of Defendant’s products, including but not limited to the display of said
trademarks at Defendant’s stores and/or website to promote, advertise, and/or offer for
sale products that are not authorized, approved, and/or originate from Oakley;
              (b)    engaging in any other activity constituting unfair competition with
Oakley, or acts and practices that deceive consumers, the public, and/or trade, including
without limitation, the use of designations and design elements associated with Oakley;
              (c)    committing any other act which falsely represents or which has the
effect of falsely representing that the goods and services of Defendant are licensed by,
authorized by, offered by, produced by, sponsored by, or in any other way associated with
Oakley;
       3.     For entry of an ORDER for an accounting by Defendant of all gains, profits,
and/or advantages derived from its infringing acts;
       4.     For entry of an ORDER directing Defendant to file with this Court and serve
on Oakley within ten (10) days after entry of the injunction a report in writing, under oath

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setting forth in detail the manner and form in which Defendant has complied with the
injunction;
       5.     For an assessment of the damages suffered by Oakley, trebled, and an award
of all profits that Defendant has derived from using the Oakley Marks, trebled, as well as
costs and attorneys’fees to the full extent provided for by Section 35 of the Lanham Act;
alternatively, that Oakley be awarded statutory damages pursuant to 15 U.S.C. § 1117 of
up to $2 million per trademark counterfeited and infringed, per type of good;
       6.     For an award of applicable interest amounts, costs, disbursements, and/or
attorneys’fees;
       7.     For an award of punitive damages in connection with its claims under New
York law;
       8.     Such other relief as may be just and proper.

  Dated:          August 16, 2018
                  Los Angeles, California      Respectfully Submitted,


                                               ____________________________
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                             DEMAND FOR JURY TRIAL
       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Oakley,
Inc. requests a trial by jury in this matter.

Dated:         August 16, 2018
               Los Angeles, California          Respectfully Submitted,


                                                ____________________________
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                     COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
